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               IN THE UNITED STATES DISTRif T COURT                    FILED
                   FOR THE DISTRICT OF MONTANA                          AUG O8 2018
                         HELENA DIVISION
                                                                     Clerk, U.S . District Court
                                                                         · ·         ontana
                                                                              Helena
UNITED STATES OF AMERICA,               CR 18-17- -SEH

             Plaintiff,

       vs.                              ORDER D SMISSING
                                        INFORM ION WITHOUT
OMAR GALLARDO TORRES and
EDGAR QUEVEDO-ROCHA,

             Defendant.


      The United States' Unopposed Motion to Dismi s Information Without

Prejudice (Doc. 15) is GRANTED. The Information ij the above-captioned case is

dismissed without prejudice.

      DATED this 8th day of August, 2018.




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                                    ~ E . H A 1DON
                                                   I f#rJdl~               l
                                     United State : District Judge
